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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 UNITED STATES OF AMERICA


                         v.

                                                            Case No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,

                                    Defendant


                                     [Proposed] ORDER

       Upon consideration of the government’s motion for leave to file under seal an unredacted

version of its memorandum in opposition to defendant Manafort’s motion to suppress evidence, it

is hereby

       ORDERED that the motion is GRANTED; and it is further

       ORDERED that the Clerk shall file under seal the unredacted memorandum attached to the

government’s motion.




________________                           __________________________________
Date
